                       IN THE UNITED STATES DISTRlCT COURT
                   FOR THE EASTERN DISTRlCT OF NORTH CAROLINA
                                SOUTHERN DIVISION

                                       NO.7:07-CV-I63-FL
                                      NO.7:05-CR-97-FL-14



 FELIPE MACEDO,                               )
                                              )
                Peti tioner,                  )
                                              )
       v.                                     )                       ORDER
                                              )
 UNITED STATES OF AMERlCA,                    )
                                              )
                Respondent.                   )



       This matter is before the court on the motion to dismiss of respondent United States of

America (hereinafter "respondent") pursuant to Rule l2(b)(6) of the Federal Rules of Civil

Procedure. (DE # 659). The matter is ripe for adjudication. For the following reasons, respondent's

motion to dismiss is granted.

                                  STATEMENT OF THE CASE

       On March 21, 2006, petitioner pled guilty to conspiracy to distribute and possess with the

intent to distribute more than five-hundred (500) grams of cocaine. The plea agreement

recommended a maximum term of imprisonment of forty (40) years and a minimum term of five

years, based on violation of 21 U.S.C. section 846 with more than five-hundred (500) grams of

cocaine. On February 15, 2007, petitioner's attorney filed sentencing memorandum with the court,

requesting that petitioner be sentenced below the applicable advisory guideline range, under 18

U.S.c. section 3553(a). One week later, prior to sentencing, respondent filed motion for downward

departure, pursuantto U.S.S.G. § SKI. 1, due to petitioner's substantial assistance to law enforcement



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authorities. The court allowed a three-level reduction for acceptance of responsibility, and the

government requested that the base offense level be reduced from thirty-eight (38) to thirty-six (36).

Finally, the court granted the government's requestto withdraw the two-level firearm enhancement,

resulting in a total offense level thirty-three (33) and an imprisonment range of one hundred and

sixty-eight (168) to two hundred and ten (210) months. The court departed from the sentencing

guidelines by granting respondent's 5K 1.1 motion. Therefore, petitioner was sentenced by this court

on February 22, 2007, to ninety-eight (98) months of imprisonment.

                                           DISCUSSION

I.      Standard of Review

       Rule 12(b)(6) allows a suit to be dismissed for failure to state a claim upon which relief may

be granted. A Rule 12(b)(6) motion to dismiss only determines whether a claim is stated; it does not

resolve disputed facts, the merits of the claim, or applicability of defenses. Republican Party v.

Martin, 980 F.2d 943, 952 (4th Cir. 1992). For the purposes of ruling on a Rule 12(b)(6) motion to

dismiss, the court should construe allegations in the complaint as true and in the light most favorable

to the petitioner. Jenkins v. McKeithen, 395 U.S. 411,421 (1969); Republican Party. 980 F.2d at

952. If, after viewing the allegations in the complaint in the light most favorable to plaintiff, it

appears beyond doubt that it fails to state plausible grounds for plaintiffs entitlement to the relief

sought, a court shall dismiss a complaint for failure to state a claim. Bell Atlantic Com. v. Twombly,

127 S.C!. 1955, 1965-66 (2007). A court should not dismiss a complaint that states a claim, even

if it appears that the chance of recovery is remote. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974),

abrogated on other grounds by Harlow v. Fitzgerald, 457 U.S. 800 (1982).

II.    Analysis


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         To state a claim of ineffective assistance ofcounsel in the context ofa guilty plea, a petitioner

must satisry a two-pronged test. Strickland v. Washington, 466 U.S. 668, 686-87 (1984). First, a

petitioner must show that the representation he received fell below an objective standard of

reasonableness. Id. at 688. This court must be "highly deferential" of counsel's perfonnance and

must make every effort to "eliminate the distorting effects of hindsight." Id. at 689. Therefore, the

court must "indulge a strong presumption that counsel's conduct falls within the wide range of

reasonable professional assistance." Id. Concerning the second prong, a petitioner must show that

he was prejudiced by the ineffective assistance by showing "a reasonable probability that, but for

counsel's errors, he would not have pleaded guilty and would have insisted on going to trial." Hill

v. Lockhart, 474 U.S. 52, 59 (1985).

         Petitioner first asserts that his counsel was ineffective under Strickland in the course of his

plea and sentencing hearings. In support of this conclusion, petitioner offers two main arguments.

First, petitioner asserts that his counsel did not seek a downward departure based on U.S.S.G. §

5K3.1, which provides for "Early Disposition Programs," which are sentencing programs employed

by federal prosecutors in states inundated with certain types of cases.' Relatedly, petitioner argues

that his counsel should have presented evidence and argument that his sentence was unreasonable

because he was not sentenced under section 5K3.1, which petitioner asserts caused a disparity in

sentence lengths for the same crime. Finally, petitioner asserts that his counsel was ineffective due

to counsel's failure to seek a sentence outside of the Sentencing Guidelines based on 18 U.S.C. §



         'Defendant refers the program as a "fast-tracking program." As the Fourth Circuit recently commented,
"Fast-tracking refers to a procedure that originated in states along the United States-Mexico border, where district courts
experienced high caseloads as a result of immigration violations. To preserve resources and increase prosecutions,
prosecutors sought to obtain pre-indictment pleas by offering defendants lower sentences through charge-bargaining or
through motions for downward departure." See United States v. Perez-Pena, 453 F.3d 236 (4th CiT. 2006).

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3553(a)(2)(D). For the reasons set forth below, petitioner's arguments fail.

       U.S.S.G. § 5K3.l provides that "[u]pon motion of the Government, the court may depart

downward not more than 4 levels pursuant to an early disposition program authorized by the

Attorney General of the United States and the United States Attorney for the district in which the

court resides." By the plain language of the provision, the government is the party that properly

moves for downward departure under this provision. "In enacting the PROTECT Act, Congress

directed the Commission to authorize a downward departure of no more than four levels if the

Government moved/or such a departure pursuant to a fast-track program authorized by the Attorney

General." Perez-Pena, 453 FJd at 244. The commentary included in the Sentencing Guidelines

confirms this interpretation, making clear that the section requires "motion of the Government."

Therefore, given the procedural impossibility of petitioner's desired course of action, the fact that

counsel did not file for a downward departure under section 5K3.l does not warrant a finding of

ineffective assistance of counsel.

       Relatedly, petitioner claims that his counsel acted ineffectively when counsel failed to argue

to the court that petitioner's sentence constituted an unwarranted disparity when compared with

sentences given under the Early Disposition Program. However, counsel's abstention in raising

petitioner's preferred argument is not objectively umeasonable under the first Strickland prong. In

2006, the Fourth Circuit held that "[s]entencing disparities between defendants receiving fast-track

downward departures ... and those not receiving such departures are 'warranted' as a matter oflaw

...." Perez-Pena, 453 F.3d at 244. See also United States v. Montes-Pineda, 445 F.3d 375,379-80

(4th Cir. 2006) ("Congress seems to have endorsed at least some degree of disparity by expressly

authorizing larger downward departures for defendants in 'fast track' districts."). As the Fourth


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Circuit explained the program's rationale, "ifdefendants in non-fast-track districts were sentenced

as ifthey had participated in fast-track programs, then the Government would be effectively deprived

of its discretion to decide which districts would have fast-track programs and which defendants

within those jurisdictions should be allowed to participate." Perez-Pena, 453 F.3d at 244. Therefore,

the court will not second-guess the decision not to make an argument which the Fourth Circuit has

quite clearly rejected. Even if the court were inclined to second-guess such a decision, petitioner's

argument does not meet the second prong of the test, for the Fourth Circuit has foreclosed this legal

option as a matter of law.

         Finally, petitioner argues that counsel was ineffective due to counsel's failure to seek a

sentence outside ofthe Sentencing Guidelines based on the theory that the Federal Bureau ofPrisons

("FBP") does not offer a rehabilitative program that would assist petitioner in re-entering his country

of nationality. This fact, petitioner argues, could have considered and potentially could have reduced

his sentence under section 3553(a)(2)(D),2 which states that the sentencing court "shall consider .

. . the need for the sentence imposed ... to provide the defendant with needed educational or

vocational training, medical care, or other correctional treatment in the most effective manner."

Section § 3624(c)(l) states that the "[FBP] shall, to the extent practicable, ensure that a prisoner

serving a term of imprisonment spends a portion of the final months of that term ... under

conditions that will afford that prisoner a reasonable opportunity to adjust to and prepare for the

reentry of that prisoner into the community."

         Petitioner, having entered into his plea agreement on March 21, 2006, and having been


         2 Petitioner's memorandum in support of his motion relies on "§ 3553(a)(2)(D)," a provision which does not

exist. The cases petitioner cites suggest that petitioner intended to rely on § 3553(a)(2)(D). and the court construes his
memorandum as such.

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sentenced on February 22, 2007 to a term of ninety-eight (98) months of imprisonment, has not yet

reached the "the final months of that term," and thus section 3624 is not yet applicable to his case.

It is thus unclear how his counsel might have used the provision to his advantage. Moreover, the

language of section 3624(c), contrary to petitioner's argument, is permissive, not mandatory. See

Giannolla v. Bureau ofPrisons, No. 5:02-CT-453-H, 2002 WL 32714319, at "I (E.D.N.C. Aug. 16,

2002) (unpublished case) ("The language of this statute is not mandatory as Petitioner suggests.

Rather, it gives BOP officials discretion to place inmates in community corrections "to the extent

practicable."). Petitioner's counsel's failure to put forth an argument relying on section 3624 was

not unreasonable and therefore the argument fails.

                                           CONCLUSION

       For the reasons stated below, the United States' motion to dismiss (DE # 659) is GRANTED.

Accordingly, petitioner's motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. §

2255 (DE # 644) is DENIED. The Clerk of Court is DIRECTED to close this case.
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       SO ORDERED, this the~ day of May, 2008.




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